                  Case 2:15-cr-00189-KJM Document 120 Filed 04/27/18 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     JEREMY R. WARREN
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-15-189 GEB
                                                      )
10
                                                      )
             Plaintiff,                               )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
12
                                                      )       [PROPOSED] FINDINGS AND ORDER
     JEREMY R. WARREN,                                )
13
                                                      )
                                                      )       Date: May 4, 2018
14           Defendant.                               )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E Burrell, Jr.
15
                                                      )
                                                      )
16

17

18
             The United States of America through its undersigned counsel, Michael Beckwith,
19
     Assistant United States Attorney, together with counsel for defendant Jeremy Warren, John R.
20
     Manning, Esq., hereby stipulate the following:
21

22        1. By previous order, this matter was set for status conference on April 27, 2018.

23        2. By this stipulation, the defendant now moves to continue the status conference until May
24
     11, 2018 and to exclude time between April 27, 2018 and May 4, 2018 under the Local CodeT-4
25
     (to allow defense counsel time to prepare). The parties agree and stipulate, and request the Court
26
     find the following:
27

28           a.     Counsel for the defendant was appointed on June 17, 2016.



                                                          1
              Case 2:15-cr-00189-KJM Document 120 Filed 04/27/18 Page 2 of 3


            b. The government has produced approximately 1,300 pages of discovery and 26 audio
 1

 2              files.

 3          c. Counsel for the defendant needs additional time to review the discovery, conduct
 4
                investigation, interview potential witnesses, and meet with the defendant.
 5
            d. Counsel for the defendant believes the failure to grant a continuance in this case
 6

 7
                would deny defense counsel reasonable time necessary for effective preparation,

 8              taking into account the exercise of due diligence.
 9          e. The Government does not object to the continuance.
10
            f. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendant in a
12

13              speedy trial within the original date prescribed by the Speedy Trial Act.

14          g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
15
                Section 3161(h)(7)(A) within which trial must commence, the time period of April
16
                27, 2018, to May 4, 2018, inclusive, is deemed excludable pursuant to 18 United
17
                States Code Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4
18

19              because it results from a continuance granted by the Court at the defendant's request

20              on the basis of the Court’s finding that the ends of justice served by taking such
21
                action outweigh the best interest of the public and the defendant in a speedy trial.
22
        3. Nothing in this stipulation and order shall preclude a finding that other provisions of the
23
     Speedy Trial Act dictate that additional time periods are excludable from the period within which
24

25   a trial must commence.

26

27
        IT IS SO STIPULATED.
28




                                                      2
             Case 2:15-cr-00189-KJM Document 120 Filed 04/27/18 Page 3 of 3



 1
     Dated: April 26, 2018                                 /S/ John Manning
 2                                                         JOHN R. MANNING
                                                           Attorney for Defendant
 3                                                         Jeremy Warren
 4
     Dated: April 26, 2018                                 McGregor W. Scott
 5                                                         United States Attorney

 6                                               by:       /S/ Michael Beckwith
 7
                                                           MICHAEL BECKWITH
                                                           Assistant U.S. Attorney
 8

 9

10
                                         ORDER
11

12
                             IT IS SO FOUND AND ORDERED.
13
                                   Dated: April 26, 2018
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                            3
